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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                  10/7/21
UNITED STATES OF AMERICA,

             - v. -                                  20 Cr. 641 (VM)

EBRIMA FAAL,                                         ORDER

                    Defendant.



VICTOR MARRERO, United States District Judge.

        The status conference currently scheduled for October 8,

   2021, is hereby rescheduled to November 12, 2021, at 2:30 p.m.

        Upon consent of the parties, it is hereby ordered that time

until    November    12,   2021,   shall   be   excluded   from   speedy

trial    calculations under the Speedy Trial Act. This exclusion is

designed to guarantee effectiveness of counsel and prevent any

possible miscarriage of justice. The value of this exclusion

outweighs the best interests of the Defendant and the public to a

speedy trial. This order of exclusion of time is made pursuant

to 18 U.S.C. §§ 3161(h)(7)(B)(i) & (iv).

SO ORDERED.

Dated:       New York, New York
             October 7, 2021
